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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                               4:08CR3177
       vs.
                                                         DETENTION ORDER
JOHN HENRY SUTTON,
                     Defendant.



       The defendant was afforded an opportunity for a hearing, but agreed to be detained
without a hearing. The defendant has therefore failed to meet the burden of showing, by
clear and convincing evidence pursuant to 18 U.S.C. § 3143 (a) and Fed. R. Crim. P.
Rule 32.1(a)(6) that defendant will appear at court proceedings and will not pose a danger
to the safety of any person or the community if released. The Court’s findings are based
on the allegations within the Petition.

IT IS ORDERED:

       1)     The above-named defendant shall be detained until further order.

       2)     The defendant is committed to the custody of the Attorney General for
              confinement in a corrections facility; the defendant shall be afforded
              reasonable opportunity for private consultation with counsel; and on order
              of a court of the United States, or on request of an attorney for the
              government, the person in charge of the facility shall deliver the defendant
              to a United States Marshal for appearance in connection with a court
              proceeding.

       January 29, 2013.
                                                BY THE COURT:

                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
